
PER CURIAM.
By petition and cross-petition for writ of certiorari, we have for review an order of the Florida Industrial Commission bearing date February 4, 1969.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rule 3.10, subd. e, 32 F.S.A.
*417Our consideration of the petitions, records and briefs leads U's to conclude that there has been no deviation from the essential requirements of law.
The Petition for certiorari and the cross-petition are therefore denied.
Attorney’s fee in the amount of $250.00 is awarded to respondent-Bobby Hamilton’s attorney.
It is so ordered.
ROBERTS, Acting C. J., and DREW, THORNAL, CARLTON and ADKINS, JJ., concur.
